Case 4:21-cv-02353. Document 1 Filed on 07/20/21 in TXSD Page 1 of 12
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‘anendix A
United States Courts Southern
District of Texas

UNITED STATES DISTRICT COURT . FILED
SOUTHERN DISTRICT OF TEXAS 7/20/2021
HOUSTON DIVISION

Nathan Ochsner, Clerk of Court

Tamara M. Owens

 

versus CIVIL ACTION NO.

Northland Management Corp
2150 Washington Street
Newton, MA 02462

0G 00? On CGR GOD 6G 6OD

EMPLOYMENT DISCRIMINATION COMPLAINT
I. This action is brought under Title VII of the Civil Rights Act of 1964 for employment
discrimination. Jurisdiction is conferred by Title 42 United States Code, Section § 2000e-5.
2. The Plaintiff is: Tamara M. Owens

Address: 407 Sunwood Glenn Ln

Katy, TX 77494

 

 

County of Residence: | FORT Bewn
3, The defendant is: : Northland: Management Corp
Address: 2150 Washington Street

 

Newton, MA 02462
O Check here if there are additional defendants. List them on a separate sheet of paper with
their conyplete addresses.
4, The plaintiff has attached to this complaint a copy of the charges filed on 3 ] q } 222)
with the Equal Opportunity Commission. | )

5. On the date of _ April 30, 2021 . the plaintiff received a Notice of Right to Sue

 

letter issued by the Equal Employment Opportunity Conimission; a copy is attached.
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Because of the plaintiff's:

(a) ¥ race

(b) Ll color

(ce) OO Sex

(d) o religion

(e) 0 national orgin,

the defendant has:
(a) Cl failed to employ the plaintiff
(b) O terminated the plaintiff's employment

(c) o failed to promote the plaintiff

 

(d) 4 other: Retaliation - | was retaliated after | filed a complaint of discrimination

 

 

When and how the defendant has discriminated against the plaintiff:

In October 2020, | was part of a four person group who filed individual complaints against

discrimination.

 

The olaintitt requests that the defendant be ordered:

(a) O to stop discriminating against the plaintiff

(b) O to employ the plaintiff

(c) oO to re-employ the plaintiff
O

to promote the plaintiff
Case 4:21-cv-02353 Document 1 Filed on 07/20/21 in TXSD Page 3 of 12

fe) I to

 

 

and that:

 

(f) the Court grant other relief, including injunctions, damages, costs and

Wn

\OYSignature of Plaintiff)

attorney’s fees.

Address: 407 Sunwood Glenn Ln
Katy, TX 77494

Telephone: 414-334-3030
Case 4:21-cv-02353_ Document 1 Filed on 07/20/21 in TXSD Page 4 of 12

Appendix B

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

 

 

 

 

DIVISION

Tamara M. Owens §
. §

versus § CIVIL ACTION NO. _
§
Northland Management Corp §
2150 Washington Street §
Newton, MA 02462 §

ORIGINAL COMPLAINT

 

 

Plea ve cbleche dk
Case 4:21-cv-02353 Document 1 Filed on 07/20/21 in TXSD PARREA SUS F?
. Original Complaint:

Late in October 2020, I filed a complaint using Northland's internal complaint process for discrimination.
This complaint was specifically filed against Adam Stroop.

. Mr. Stroop made comments and acted in a way I believed to be discriminatory against members of my
team. An investigation was launched, and it resulted in his termination. For objective reasons, Mr.
Stroop was terminated for his lack of leadership.

On November 30th, 2020, I began to understand Ms. Johnson's role as Mr. Stroop's mentor. Upon my
return from COVID leave, I sat down with Ms. Shelley Johnson to obtain an update while I was out. We
discussed my feelings in relation to the complaint which was filed with the company.

I expressed to her my concern for my staff who also filed. I shared that I felt a connection with these
individuals because I saw their pain at experiencing discrimination.

After this conversation, everything began to change with Ms. Johnson. Her attitude and behavior were
different with me and those who filed a complaint. I was called a liar publicly in front of my entire team.
I was told that my grammar and English was poor in person and via email. I was told that I lacked
leadership skills. I was told that my inability to communicate was a deficit to my team.

I was told that I could not have "secret conversations" with any of the staff who filed a complaint.

I was told that a maintenance supervisor was to be present for all of our conversations.

This all occurred AFTER my conversation with Ms. Johnson on November 30th.

On December 5, 2020, Ms. Johnson and [ had an additional conversation in which she was honest with
me that J raised a "red flag" with her by sharing that I felt a connection with the staff who also filed a
complaint. She felt that I was being partial to these particular staff, who were all men of color. She
expressed that she had shared her concern with HR and corporate staff.

Around December 8th, I was given a surprise audit. I had never been through an audit with Northland
before. The matrix were never shared. An audit at my property had not occurred in at least a year. I have
been through audits at other properties and understood the importance of them.

When it was disclosed to me that the property would be participating in an audit, I was clear that we
would not pass. The property had not been following basic property management tenets. The property
was not ready. I communicated this to Ms. Johnson directly.

In mid-December, the results of the audit were shared with me. I discussed with Ms. Johnson how J
correct the deficiencies and move the property forward. She appeared to agree with the plan. Things
were still rocky between us but we appeared to be working through it. It was a surprise when

I received a corrective action on December 30th. The corrective action was based on audit results that
had previously been discussed and resolved. It felt as though there was nothing I could do correctly. It
became an environment where it was very difficult place to work. It was hostile, stressful, and toxic.

I reached out to HR and Jay Babbitt, Director of Human Resources to discuss the corrective action. My
concern as I had previously discussed with him and the investigator was that it appeared that Ms. Johnson
had an agenda for me and the individuals who filed a complaint. J asked Mr. Babbitt if it was company
policy to give a corrective action plan to an employee who had only been with the company for six
months. J was advised that there are different methods but that this was a possibility. I expressed to Mr.
Babbitt that I felt Ms. Johnson was retaliating against me with the

intention to terminate my employment.

I was also told by Ms. Johnson that I needed to issue out a corrective action against Nathan Orozco and
Roger Moore under the guise of work not getting completed as expected. I expressed to Mr. Babbitt, that
I did not feel comfortable with doing this as these two individuals work extremely hard

under the conditions they were in. J did not write a corrective action against them.

On January 29th, 2021, Ms. Johnson was able to terminate my eniployment. I was told that my
performance had not improved, and this was the result.
BEOG Form 183 (112020) “Case 4:21-r02ebs FEY MENT OPFORTUN OP BOBTSRTKspD Page 6 of 12
Di jISSAL AND NOTICE oF RIGHTS

 

To: Yamara M. Owens From: San Antonio Field Office
407 Sunwood Glenn Lane §410 Fredericksburg Rd
Katy, TX 77494 Suite 200

San Antonio, TX 78229

 

[ On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
451-2021-00729 Hector Colon-Padro, Investigator (210) 640-7546

 

THE EEOC 15 CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs fess than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

KF OUUO

The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
determination about whether further investigation would establish violations of the statute. This does not mean the claims
have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.

The EEQC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Other (briefly state)

UU

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge wiil be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years}
before you file suit may not be collectible.

On behalf of the Commission

 

 

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Enclosures(s) Travis G. Hicks, Direc (Date Issued)
ce: NGRTHLAND MANAGEMENT CORP NORTHLAND MANAGEMENT CORP
Jay Babbitt c/o Natalie Groot
Human Resources Director MINTZ, LEVIN, COHN, FERRIS, GLOVSKY, AND
4701 Staggerbrush Rd POPEO, P.C.
Austin, TX 78749 One Financial Center

Boston, MA 02111
fwrs ere ye tote

Case 4:21-cv-OdSBGRNAMOMBELATHEIEd Bm SVL in TXSD Page 7 of 12
UNDE “HE LAWS ENFORCED BY THE EEOC -

(This information relates to filing suit in Federal or State court under Federal law.
if you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SuiT RIGHTS

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
$0 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later,

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attarney. Filing this Notice is not enough. You must file a “complaint” that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaini or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be fited in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order ta recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing periad under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vii, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limitéd circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requesis should be made weil before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE - Ali Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. ff you need to
inspect or obtain a copy of information in EEQC'’s file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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EEOC Form 5 (11/09) {

 

 

 

 

 

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Kgracvlles) Charge
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [| FEPA
Statement and other information before completing this form.
[x ] EEoc 451-2021-00729
TEXAS WORKFORCE COMMISSION CIVIL RIGHTS DIVISION and EEOC
State or local Agency, if fany
Name (indicate Mr., Ms., Mrs.) Home Phone Year of Birth
MS. TAMARA M OWENS (414) 334-3030 1975
Street Address City, State and ZIP Code

407 SUNWOOD GLENN LANE, KATY,TX 77494

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That | Believe Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

 

 

 

 

 

Name No. Employees, Members Phone No.

NORTHLAND MANAGEMENT CORP 501+

Street Address City, State and ZiP Code

4701 STAGGERBRUSH RD, AUSTIN, TX 78749

Name No. Employees, Members Phone No.

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[| RACE [| COLOR [] SEX [| RELIGION [ ] NATIONAL ORIGIN 01-29-2021 01-29-2021

[x] RETALIATION [| AGE [ DISABILITY [| GENETIC INFORMATION
[] OTHER (Specify) [| CONTINUING ACTION

 

 

THE PARTICULARS ARE (/f additional paper is needed, attach extra sheet(s}):
On or about June 22, 2020, | was hired as a Community Manager by Adam Stroop and Shelly
Johnson (both White), Regional Property Managers. In late October and early November,
2020, Roger Moore, Nathan Orozco, James Allen and myself filed complaints with Human
Resources for comments and actions Mr. Stroop made against employees of the Race -
Black/African-American and Black/Hispanic-American. On November 19, 2020, the
Respondent terminated Mr. Stroop's employment for bad leadership. However, in December
2020, I reported retaliation to Mr. Jay Babbitt, Human Resources, because Ms. Johnson wrote
me up after I failed an unannounced audit. Mr. Babbitt's response to my complaint was to
make sure | was doing what | needed to do to avoid being terminated. On January 29, 2021, I
was terminated by Ms. Johnson and Mr. Babbitt for performance. However, I believe I was
retaliated against for engaging in protected activity in violation of Title VII of the Civil Rights

Act of 1964, as amended.

 

 

! want this charge filed with both the EEOC and the State or local Agency, | NOTARY - When necessary for State and Local Agency Requirements
if any. | will advise the agencies if! change my address or phone number
and [ will cooperate fully with them in the processing of my charge in

 

accordance with their procedures. | swear or affirm that | have read the above charge and that it
I declare under penalty of perjury that the above is true and correct. is true to the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

Digitally signed by Tamara Owens on 03-16-2021 SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
12:13 PM EDT (month, day, year)

 

 

 
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CP Enclosure with EEOC Form 5 (11/09) f 5

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93- 579, authority to
request personal data and its uses are:

1. Form NumeBer/TitLe/DaTe. EEOC Form 5, Charge of Discrimination (11/09).

2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C.
2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual-
filing or referral arrangements exist, to begin state or local proceedings.

4. ROuTINE Uses. This form is used to provide facts that may establish the
existence of matters covered by the EEOC statutes (and as applicable, other federal,
state or local laws). Information given will be used by staff to guide its mediation and
investigation efforts and, as applicable, to determine, conciliate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to other federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions.
A copy of this charge will ordinarily be sent to the respondent organization against
which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges
must be reduced to writing and should identify the charging and responding parties
and the actions or policies complained of. Without a written charge, EEOC will
ordinarily not act on the complaint. Charges under Title VII, the ADA or GINA must be
sworn to or affirmed (either by using this form or by presenting a notarized statement
or unsworn declaration under penalty of perjury); charges under the ADEA should
ordinarily be signed. Charges may be clarified or amplified later by amendment. It is
not mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
filed at EEOC may also be first handled by a FEPA under worksharing agreements.
You will be told which agency will handle your charge. When the FEPA is the first to
handle the charge, it will notify you of its final resolution of the matter. Then, if you
wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
will ordinarily adopt the FEPA's finding and close our file on the charge.

NoTIce OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if
retaliation is taken against you or others who oppose discrimination or
cooperate in any investigation or lawsuit concerning this charge. Under Section
704(a) of Title Vil, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section
207(f) of GINA, it is unlawful for an emp/oyerto discriminate against present or former
employees or job applicants, for an employment agency to discriminate against
anyone, or for a union to discriminate against its members or membership applicants,
because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an
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investigation, proceeding, ort’ ‘ring under the laws. The Equal” * Act has similar
provisions and Section 503(b) of the ADA prohibits coercion, intimidation, threats or
interference with anyone for exercising or enjoying, or aiding or encouraging others in
their exercise or enjoyment of, rights under the Act.
Case 4:21-cv-02353 Document 1 Filed on 07/20/21 in TXSD Page 11 of 12

AO 398 (Rev. 01 09) Notice of a Lawsuit and Request to Waive Service of a Summons Appendix E

UNITED STATES DISTRICT COURT

for the

Tamara M. Owens
Piaintiff
v. Civil Action No.
Northland Management Corp

Defendant

NOTICE OF A LAWSUIT AND REQUEST TO WAIVE SERVICE OF A SUMMONS

To: Northland Management Corp

(Name of the defendant or - if the defendant is a corporation, partnership, or association - an officer or agent authorized to receive service)

Why are you getting this?

A lawsuit has been filed against you, or the entity you represent, in this court under the number shown above.
A copy of the complaint is attached.

This is not a summons, or an official notice from the court. It is a request that, to avoid expenses, you waive formal
service of a summons by signing and returning the enclosed waiver. To avoid these expenses, you must return the signed
waiver within days (give at least 30 days, or at least 60 days if the defendant is outside any judicial district of the United States)
from the date shown below, which is the date this notice was sent. ‘Two copies of the waiver form are enclosed, along with
a stamped, self-addressed envelope or other prepaid means for returning one copy. You may keep the other copy.

What happens next?

If you return the signed waiver, I will file it with the court. The action will then proceed as if you had been served
on the date the waiver is filed, but no summons will be served on you and you will have 60 days from the date this notice
is sent (see the date below) to answer the complaint (or 90 days if this notice is sent to you outside any judicial district of

the United States).

If you do not return the signed waiver within the time indicated, I will arrange to have the summons and complaint
served on you. And I will ask the court to require you, or the entity you represent, to pay the expenses of making service.

Please read the enclosed statement about the duty to avoid unnecessary expenses.

I certify that this request is being sent to you on the date below.

Date: Ftefave].
Signal

Tamara M. Owens
Printed name

  

the attorney or unrepresented party

os

407 Sunwood Glenn Ln, Katy, TX 77494
Address

tamara.owens6@gmail.com
E-mail address

414-334-3030

Telephone number
Case 4:21-cv-02353 Document 1 Filed on 07/20/21 in TXSD Page 12 of 12

on
{

AG 399 (01:09) Waiver of the Service of Summons Appendix F

UNITED STATES DISTRICT COURT

for the

   

Southern District of Texas

Tamara M. Owens
Plaintiff
v.
Northland Management Corp
Defendant

Civil Action No.

Re’ Re ee Re fe

WAIVER OF THE SERVICE OF SUMMONS

To: Northland Management Corp

(Name of the plaintiff's attorney or unrepresented plaintiff)

Lhave received your request to waive service of a summons in this action along with a copy of the complaint.
two copies of this watver form, and a prepaid means of retuming one signed copy of the form to you.

 

 

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

lalso understand that J, or the entity I represent. must file and serve an answer or a motion under Rule 12 within
60 days from _the date when this request 'was sent (or 90 days if it was sent outside the
United States). ment will be entered against me or the entity I represent.

 
   

If I fail to do so, a default jud

       

Date: | , a

, € atloprey or unrepresented party
i} —

Tamara M. Owens

Printed name of party waiving service of summons Printed name

407 Sunwood Glenn Ln, Katy, TX 77494

Address

tamara.owens6@gmail.com
E-mail address

414-334-3030
Telephone number

 

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons

and complaint. A defendant who ts located in the United States and who fails to retumm a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of Service, unless the defendant shows good cause for the failure.

 

“Good cause” does not include a belief that the lawsuit is groundless, or that ithas been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and al} other defenses and objections, but you cannot object to the absence of
a summons or of service.

Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff

and file a copv with the court. By signing and returning the waiver form, you are allowed more time to respond than ifa summons had been served.
